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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION

MATHEW WHITEST, M.D., SARAH                       )
WILLIAMSON, KENYA WILLIAMSON,                     )
BETTY JEAN WILLIAMSON, GEORGE                     )
WHITEHEAD, JR., CURTIS LUCAS,                     )
JR., and CRANDALL POSTELL,                        )
                                                  )
        Plaintiffs,                               )           CIVIL ACTION NO.:
                                                  )           1:17-cv-00109-LJA
v.                                                )
                                                  )
CRISP COUNTY, GEORGIA BOARD OF                    )
EDUCATION; SCOTT FOREHAND, BILL                   )
WILSON, LYDIA ADKINS, LELEE PHINNEY, )
LONNIE NELMS and CHARLES KERR in their )
official capacities as members of the Board of    )
Education of Crisp County; and BECKY              )
PERKINS, in her official capacity as Elections    )
Supervisor of the Crisp County Board of Elections )
and Registration,                                 )
                                                  )
        Defendants.                               )

   MOTION TO DISMISS PLAINTIFFS’ COMPLAINT BY DEFENDANT BECKY
 PERKINS, IN HER OFFICIAL CAPACITY AS ELECTIONS SUPERVISOR OF THE
       CRISP COUNTY BOARD OF ELECTIONS AND REGISTRATION

       COMES NOW Defendant Becky Perkins, in her official capacity as Elections Supervisor

of the Crisp County Board of Elections and Registration (“Ms. Perkins”), and moves to dismiss

Plaintiffs’ complaint under Federal Rule of Civil Procedure 12(b)(6) because Plaintiffs have

failed to state a claim upon which relief can be granted; failed to join an indispensable party as

required by Federal Rules of Civil Procedure 12(b)(7) and 19; and have failed to bring their

claim in a timely manner, making it barred by laches.

       In support of this motion, Ms. Perkins files the attached Brief in Support of her Motion to

Dismiss Plaintiffs’ Complaint.



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        WHEREFORE, Ms. Perkins respectfully requests that this case be dismissed with all

costs cast against Plaintiffs.

        Respectfully submitted this 9th day of August, 2017.

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                                     Attorneys for Defendant Becky Perkins in her official
                                     capacity




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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION

MATHEW WHITEST, M.D., et al.,                  )
                                               )
      Plaintiffs,                              )      CIVIL ACTION NO.:
                                               )      1:17-cv-109-LJA
v.                                             )
                                               )
CRISP COUNTY, GEORGIA BOARD OF                 )
EDUCATION, et al.,                             )
                                               )
      Defendants.                              )


                            CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I have this day electronically served the within and foregoing
MOTION TO DISMISS PLAINITFFS’ COMPLAINT BY DEFENDANT BECKY
PERKINS, IN HER OFFICIAL CAPACITY AS ELECTIONS SUPERVISOR OF THE
CRISP COUNTY BOARD OF ELECTIONS AND REGISTRATION to the following
attorneys of record:

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     This 9th day of August, 2017.

                                               s/ Anne W. Lewis
                                               Anne W. Lewis
                                               Georgia Bar No. 737490




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